Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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Case 2:22-bk-12633-ER   Doc 70 Filed 06/27/22 Entered 06/27/22 09:00:39   Desc
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